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Ashley Wood
Civil Service Board Hearing
Thursday, September 21, 2023
11:00 a.m. – 5:00 p.m.


Agenda: Order of Proceedings

1. STATEMENTS – ASHLEY WOOD
   • Opening statement (10 minutes)
   • Discussion of evidence
   • Testimony of witnesses
   • Questions of evidence & witnesses
2. STATEMENTS – CITY OF SAVANNAH
   • Opening statement (10 minutes)
   • Discussion of evidence
   • Testimony of witnesses
   • Questions of evidence & witnesses
3. CLOSING ARGUMENT
   • City of Savannah (15 minutes)
   • Ashley Wood (15 minutes)
4. CLOSING STATEMENT BY CHAIR
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                   Civil Service Board Hearing – Ashley Wood

This is an administrative hearing with procedures, guidelines and rules
governed by the City of Savannah Civil Service Board. The Board will hear
from the parties involved in the employment action taken against Ashley
Wood. It is not a court proceeding.

Ashley Wood
Thursday, September 21st, 2023 (Back-Up Date: Friday, Sept. 22nd, 2023)
Hearing Duration: Starting at 11:00 a.m. – 5:00 p.m.

Order of Hearing
1. Purpose of hearing
2. Introduction of attendees
3. Swearing in of attendees
4. Explanation of hearing rules and procedures

                         Hearing Rules and Procedures

Each party shall have the following rights:

   1. To call on witnesses on any matter relevant to the issues.
   2. To introduce documentary and physical evidence;
   3. To rebut evidence against him or her;

During the hearing, the Chair shall have authority to:

   1. Determine the order of presentation of the evidence;
   2. Administer oaths and affirmations;
   3. Rules on procedural matters;
   4. Rule on offers of proof;
   5. Ask questions of witnesses, regardless of which party called the witnesses,
      to develop any facts deemed necessary to fairly and adequately decide the
      appeal;
   6. Call additional witnesses and request additional exhibits deemed necessary
      to complete the record and receive such evidence subject to full opportunity
      for cross-examination and rebuttal by all parties;
   7. Take any appropriate action necessary to maintain order during the hearing;
   8. Permit or require oral argument or briefs and determine the time limits for
      submission thereof;
   9. Waive any requirement of these rules and procedures unless a party shows
      that it would be prejudiced by such a waiver.

Conduct of Persons at Hearing:

It will be improper for any person at this hearing to:

   1. Insult, intimidate or behave discourteously to the Chair/board members, any
      party, any witness or any other person attending the hearing;
   2. Display boisterous conduct or commit any kind of disturbance;
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   3. Bring signs, posters, or large objects into the hearing room without the prior
      approval of the Chair;
   4. Participate in any demonstration tending to disrupt the orderly conduct of
      the hearing; or
   5. Commit any other interference with the orderly course of a hearing.


                              Order of Proceedings

5. STATEMENTS – ASHLEY WOOD
   • Opening statement (10 minutes)
   • Discussion of evidence
   • Testimony of witnesses – board
   • Questions of evidence & witnesses
6. STATEMENTS – CITY OF SAVANNAH
   • Opening statement (10 minutes)
   • Discussion of evidence
   • Testimony of witnesses
   • Questions of evidence & witnesses
7. CLOSING ARGUMENT
   • City of Savannah (15 minutes)
   • Ashley Wood (15 minutes)
8. CLOSING STATEMENT BY CHAIR
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             Following is my decision:
             Appeal denied
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                                  LETTER OF TRANSMITTAL

TO:              Lenny B. Gunther, Chief of Police

THRU:            Devonn Adams, Assistant Chief of Police
                 Ben Herron, Police Major
                 Alexander Tobar, Police Captain

FROM:            Zachary Burdette, Police Lieutenant

DATE:            May 24, 2023

SUBJ:            Letter of Transmittal for Administrative Investigation 23-0041


COMPLAINT:

 An administrative investigation was initiated by the Savannah Police Departments Internal Affairs Unit in
 March 2023 in reference to a homicide and aggravated assault investigation which lead to a subsequent arrest
 by Corporal Ashley Wood (PR 62333).

 This complaint stemmed from conflicting information in Corporal Wood’s investigation and what was
 captured on her Body Worn Camera (BWC) and interview room cameras.

     This complaint involves the following Savannah Police Department Policies:

     GO # ADM-004 Oath of Office, Ethics, and Conduct
     GO # ADM-002 Organization and Direction
     GO # ADM-018 Search and Seizure
     GO # OPS-001 Criminal Investigations
     GO # OPS-033 Court Protocol

ALLEGATION(S):

Corporal Ashley Wood

Savannah Police Department Policy GO # ADM-004 Oath of Office, Ethics and Conduct

I.        General Standards of Conduct
4. Truthfulness/Honesty: Employees shall not willfully, intentionally, or knowingly depart from the
truth OR in any way be deceptive, provide misrepresentations, falsification, deliberately or intentionally
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omit or misrepresent material facts when giving testimony, providing information (orally or in writing),
or reporting in connection with any official duties. This includes the submission of fictitious or inaccurate
reports or the falsification or misrepresentation of any facts or circumstances in official agency records.
Upon the order of a superior, employees shall truthfully answer all questions specifically directed and
narrowly related to the scope of employment and operations of the agency


   III.      Professional Life Standards


          C. Knowledge of Laws and Rules - SPD employees are required to establish and maintain a
             working knowledge of laws and ordinances enforced within the City of Savannah, the rules
             and policies of the SPD and the City of Savannah, and the orders of the SPD and Divisions
             thereof. In the event of improper action or breach of discipline, it will be presumed that the
             employee was familiar with the law, rule, or policy in question.



Savannah Police Department Policy GO # ADM-002 Organization and Direction


   V. Employee Responsibility
A. To be managed effectively, personnel should understand their duties and responsibilities. Those
   duties are detailed in Job Descriptions located on the City of Savannah network. Each employee will
   be held accountable for their duties and responsibilities.
B. It shall be the responsibility of each employee to obey all lawful orders directed to them from a
   supervisor. This will include any order relayed from a supervisor by an employee of the same or
   lesser rank. [CALEA 12.1.3]



Savannah Police Department Policy GO # ADM- 018 Search and Seizures


   I.        Searches with a Warrant
3. Requirements for a Search Warrant Return
a. Must list everything seized.
b. Must be made in a timely manner. (No legal limit SPD policy time
limit of 5 days)
c. Must be sworn before a Judge of the same Court that issued the Warrant.
d. Must be made available the subject of warrant upon request.




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Savannah Police Department Policy GO # OPS-001 Criminal Investigations


II. FOLLOW UP INVESTIGATIONS


B. When a case is assigned to an investigator for a follow-up, they will review the
preliminary investigation report to determine if any leads or suspects exist. [CALEA
42.2.3a]. If so, the investigator will:
1. Read and become thoroughly familiar with the incident report.
4. Determine if there is any additional information via the originating officer or
uniformed officers, informants, witnesses, and/or neighborhood interviews.
[CALEA 42.2.3c]
10. Conduct the proper collection, preservation, and submission of evidence.
11. Examine physical evidence, review all statements and make a determination if there
is sufficient evidence to charge a person with the crime.
14. Review all results from lab exams. [CALEA 42.2.3a]
20. Conduct background investigations on suspect(s) via criminal records checks,
criminal history files, and other established sources. [CALEA 42.2.3g]
23. If necessary, use a search warrant, or in approved instances, the consent to search
form to legally recover items of evidentiary value or stolen property. [CALEA
42.2.3d]
24. Indicate the disposition and status of any property or evidence in SPD custody in a
supplemental report.
28. Organize, in an orderly fashion, all notes, evidence, photographs, supplements, and
lab findings for court presentation, and make the prosecutor aware of all pertinent
facts of the case and of the criminal history background of the defendant. [CALEA
42.2.3h]
29. Complete a detailed investigative report documenting all activities including a
timeline of activities associated with the case.




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   IV.     ADMINISTRATION

C. Case File Management

5. When a case is cleared, a case file must be submitted by the lead investigator within ten days of
clearance.
a. All pending evidence (e.g. GBI Lab exams, pending software extractions) will be documented in the
investigator’s report.
b. Upon receipt of such evidence, a supplemental report will be completed and added to the case file.


Savannah Police Department Policy GO # OPS-033 Court Protocol

II. ELECTRONIC NOTIFICATION/SUBPOENA

A. All employees shall honor all subpoenas or electronic notifications issued by courts requiring their
appearance and production of records.

IV. PREPARATION FOR COURT

A. Officers shall contact the Assistant District Attorney by email immediately to confirm receipt of
subpoenas.

B. Officers attending court will ensure that their case is properly prepared for presentation by possessing
case files, reports, drug testing results, notes, and other evidentiary documentation. Investigators will
sign out felony case files, including Habitual Violators Packets from the Department’s case manager.

D. The primary officer or case investigator will be responsible for obtaining evidence from and returning
   it to the SPD property room.

   V.      COURTROOM DEMEANOR AND RULES

H. Employees shall testify with accuracy and confine testimony to the case.


Sergeant Nicole Khaalis

Savannah Police Department Policy GO # ADM-002 Organization and Direction
IV. SUPERVISORY RESPONSIBILITY

A The responsibility of a supervisor is to account for employees under their supervision and to ensure
that tasks are performed correctly and efficiently. A supervisor will be held responsible for issuing proper
orders. To accomplish this responsibility, these orders must not be unlawful or in violation of Department
rules and regulations or policies and procedures.


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Savannah Police Department Policy GO # OPS-001 Criminal Investigations

   IV.      ADMINISTRATION

         C. Case File Management

4. Case files for active cases shall be maintained by the lead investigator and reviewed every ten days
by the investigator’s supervisor, and will be accessible to other investigators and supervisors. [CALEA
42.1.3d]




RECOMMENDATIONS:

Allegation against Corporal Ashley Wood: Sustained

Allegation against Sergeant Nicole Khaalis: Sustained


Rationale:
On March 31, 2023, Sergeant Kaishawn Samuell from Savannah Police Department’s Internal Affairs
Unit met with members of the Chatham County District Attorney’s Office in reference to concerns that
they had regarding an investigation completed by Corporal Ashley Wood while she was assigned to the
Homicide Unit of the Savannah Police Department. The concerns were in relation to the homicide
investigation of Charles Vinson. During the course of the investigation completed by Corporal Ashley
Wood under Savannah Police Department Case Number, 210502037 she also investigated an
Aggravated Assault which she believed to be associated with the homicide which was investigated under
Savannah Police Department Case Number 210501027.

During Sergeant Samuell’s meeting, he learned that in the narrative of Corporal Wood’s investigative
report, she made note of an interview with Tyesha Love making statements to incriminate Javaris
Roundtree in the associated aggravated assault investigation. The concern with this written statement is
that it contradicts what is captured on the Body Worn Camera of Corporal Ashley Wood in her
interaction with Tyesha Love.

There were several other concerns brought up to Sergeant Samuell which included search warrant
returns not being completed, crucial evidence not being submitted to the GBI for examination,
Corporal Ashley Wood not showing up for a court appearance in which she was properly subpoenaed
and there is no mention of critical items in her investigative report.


Sergeant Samuell was able to review the Body Worn Camera interview that was being questioned. Sgt.
Samuell noted that the narrative written by Corporal Wood had discrepancies from the video recording
of her interview.
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Corporal Ashley Wood was placed on Administrative Leave on March 31, 2023. When Corporal Wood
was advised of the investigation, she was advised that she needed to have constant contact with members
of the District Attorney’s Office to correct several of the wrong/missing items. For the 2 following
weeks, Corporal Wood submitted evidence to the GBI for review as well as made appointments with
Superior Court Judges to have search warrant returns completed.



Corporal Ashley Wood Interviews

Interview 1- Thursday, April 13, 2023, at approximately 1330 hours
When Corporal Wood was brought into Internal Affairs for her first interview about this investigation
she was shown a copy of her police report and was also allowed to watch her Body Worn Camera from
her interview with Tyesha Love on May 2, 2021. During this interview, Corporal Wood stated that when
she asked Love about the shooting and if “Scooter” shot her, Love’s body language indicated to her that
she saw “Scooter”. Corporal Wood stated that later in the interview with Love she changed her story.
Corporal Wood advised that she typed her investigative supplemental from memory without watching
her Body Worn Camera. Corporal Wood was asked about swearing out warrants for Javaris Rountree
and the timeline for when that occurred and she advised that she could not remember. When asked about
not submitting a case file for the homicide of Charles Vinson she advised that she was transferred to the
gang unit and forgot to submit a file. When asked about why search warrant returns had not been
completed, Corporal Wood advised that it was common practice to not do a search warrant returns until
it was almost time for discovery in the criminal proceeding. Corporal Wood advised that the Chatham
County District Attorney’s Office had a copy of the case file.

Interview 2- Thursday, April 20, 2023, at approximately 1305 hours

Corporal Ashley Wood was re-interviewed at the Internal Affairs Office. During this interview, Corporal
Wood stated that it was approximately 1 month after the interview with Tyesha Love that she completed
her report. Corporal Wood also stated that the probable cause for arresting Javaris Roundtree for the
Aggravated Assault on Love was her body language telling her that Roundtree shot her, even though she
did not see the person who shot her. Corporal Wood advised that when she wrote her report. She wrote
it from memory and never reviewed her Body Worn Camera. Corporal Wood stated that she could not
remember what she testified to while swearing out warrants to the superior court judge. Corporal Wood
was asked if she told ADA Brian Deblasiis that Love told her Javaris Roundtree shot her. Corporal Wood
could not remember. Corporal Wood also stated that she could not remember specifics about her
probable cause for making the arrest in her investigation. When asked why she did not submit evidence
to the GBI for examination or write supplemental reports with updated investigation results, Corporal
Wood advised that she just forgot to do it. Corporal Wood was asked why she didn’t try to interview 2
subjects whom she had arrest warrants for when they were picked up and she stated that she didn’t think
it was necessary and also because she was in the process of doing work on her back porch.




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Interview 3- Monday, May 8 20, 2023 at approximately 1400 hours

Corporal Ashley Wood was interviewed for a 3rd time at the Internal Affairs Office. In this interview,
the focus was on information that was brought to light during a news article claiming that Corporal Wood
falsified warrants. Corporal Wood was asked about information that she documented in her report from
surveillance footage from Wal-Mart. Corporal Wood stated that she did not remember if she saw the
defendants on the surveillance footage because she observed it so long ago. After being shown her report
where she documented that she observed the footage and knew the defendants were at Walmart, Corporal
Wood stated that she could not remember and someone she interviewed could have told her. Corporal
Wood stated that she remembered seeing Aaliyah Duncan on the video and must have placed the other
defendants there through interviews.


Corporal Jacob Hilderbrand Interview- Friday, April 14, 2023, at approximately 1400 hours

Corporal Jacob Hilderbrand was brought into Internal Affairs where he was interviewed about this
investigation. During his interview, Detective Hilderbrand stated that it was standard practice for search
warrant returns not to be completed until it was time for discovery and that this was something that
former SPD Sergeant Robert Santoro taught him so that defense attorneys would not have access to the
warrants prior to the District Attorney’s Office wanting them to have the information. Detective
Hilderbrand said that it was never common practice to not submit evidence to the GBI. Detective
Hilderbrand was allowed to watch the Body Worn Camera footage of Corporal Wood’s interview with
Tyesha Love and he was asked about that interview. Detective Hilderbrand stated that at the beginning
of the interview, Love indicated that “Scooter” shot her by nodding her head up and down and that she
was asked a second time to clarify and she nodded her head again. Detective Hilderbrand advised that
Corporal Wood walked off prior to concluding the interview and he was not aware of anything else
communicated.


Sergeant Nicole Khaalis Interview- Monday, April 17, 2023, at approximately 1118 hours

Sergeant Nicole Khaalis was interviewed at Internal Affairs in reference to this investigation. Sgt.
Khaalis advised that she was updated on active homicides on a case-by-case basis. When asked about
when a case file should be submitted for review, Sgt. Khaalis advised that a case file should be turned in
within 60 days of an arrest and that the District Attorney’s Office wanted them in 90 days. Sgt. Khaalis
stated that search warrant returns and crime lab results would typically not be in the case file because
they would not be ready within 60-90 days, however, they would be added later. Sgt. Khaalis confirmed
that she supervisor approved Corporal Wood’s report. Sgt. Khaalis stated that she did not review the
Body Worn Camera from the Tyesha Love interview prior to approving Corporal Wood’s report and
that based on what she saw after reviewing it, Javaris Roundtree should not have been charged. Sgt.
Khaalis stated that evidence should have been submitted to the GBI (DNA Swabs and shell casings) and
that in 2021, the Assistant District Attorney assigned to a homicide would typically send a list via e-mail
in reference to items that an investigator would need to complete for the case. Sgt. Khaalis stated that
search warrant returns not being turned in was something initiated by former SPD Sergeant Robert
Santoro. Sgt. Khaalis stated that her chain of command didn’t seem to have a problem with it so she
didn’t think it was a problem. Sgt. Khaalis stated that currently the search warrant returns are completed
as soon as the requested information/items are provided to the detective. Sgt. Khaalis stated that there is
an Excel spreadsheet on Onedirve that is used to track case file submissions and that she had
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communicated with Corporal Wood over the last 2 years about the case file for this incident, however,
she could not remember if it was via e-mail or phone. Sgt. Khaalis then provided e-mail communications
showing a mid-year work plan for Corporal Wood where she addressed expectations for the cases related
to this incident.



Lieutenant Zachary Burdette Interview- Thursday, April 20, 2023, at approximately 1003 hours
I went to Internal Affairs and was interviewed in reference to this investigation. During the interview, I
advised that unit supervisors would not review Body Worn Camera footage of the investigation and that
they would just read an investigative report. I then stated that after reviewing the Body Worn Camera
footage as compared to the investigative report written by Corporal Wood there was no probable cause
for her to arrest Javaris Roundtree for the aggravated assault.



Additional Concerns Discovered

On Friday, May 19, 2023, I was made aware by Sergeant Samuell of another issue brought to his attention
from members of the district attorney’s office regarding discrepancies in an interview and what Corporal
Ashley Wood documented in her investigative supplemental. In this communicated concern, Corporal
Wood was interviewing Antwane Snipe in reference to the homicide of Charles Vinson. Corporal Wood
documented in her report that Snipe stated that Carlos Rountree, “Scooter” (Jarvis Roundtree), and
Marquis Parrish all had firearms in their possession while in a vehicle together. However, in the recorded
interview with Snipe, she informed Corporal Wood that Carlos Rountree and “Scooter” (Jarvis Rountree)
had firearms while in the vehicle. Snipe even described the firearms to Corporal Wood as a revolver was
what Carlos had and a semi-automatic is what Jarvis had. Corporal Wood confirmed that information
and Marquis Parrish was never mentioned as having a firearm in his possession. Another point of
contention in this interview was that Corporal Wood documented in her report that Marquis Parrish
contacted Snipe about extending a rental vehicle (The believed crime scene for the homicide). However,
in the interview with Snipe, she states that Carlos Rountree is the person whom she had communicated
with about the extension of the rental vehicle. The last point of contention in this portion of the complaint
is that Corporal Wood documented in her report that Snipe stated that “Roundtree pushed her aside”,
however in the actual interview Snipe stated that she was told to “move out of the way” and there was
no mention of any physical contact.

On Tuesday, May 23, 2023, I was notified via e-mail that there were more concerns found by members
of the District Attorney’s Office. The focus of this concern is discrepancies with Corporal Wood’s report
as it relates to an interview that was conducted with Marquis Parrish. In Corporal Wood’s report she
indicates that Marquis Parrish denied ever being in a rental vehicle (Crime Scene), however, in his
recorded interview with investigators Marquis Parrish tells them that he rode in a red four-door car with
“Scooter’s brother”. Marquis Parrish also stated that he drove “Scooter’s Brother” to the airport where
they picked up the red car which he describes as a rental car.


It should be noted that the concerns that were brought to the Savannah Police Department by members
of the Chatham County District Attorney’s Office impact this criminal case in many aspects. Not only
are there discrepancies in Corporal Ashley Wood’s report versus what is seen on video recordings of
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interviews, Corporal Wood swore out multiple search warrants in front of Recorder’s Court and Superior
Court Judges with untruthful information which progressed this investigation into arrest warrant being
secured and 4 individuals arrested for the murder of Charles Vinson

In regards to Sergeant Nicole Khaalis, she was able to provide documentation that she initially requested
for Corporal Ashley Wood to complete her report and submit a case file, there was never any additional
follow-up to make sure these task were completed.


CORRECTIVE MEASURES:

In reference to the administrative investigation above, I find Corporal Ashley Wood did violate the
following Savannah Police Department Policies:

GO # ADM-004 Oath of Office, Ethics, and Conduct
GO # ADM-002 Organization and Direction
GO # ADM-018 Search and Seizure
GO # OPS-001 Criminal Investigations
GO # OPS-033 Court Protocol


Based on the gross violations of the policies outlined in this investigation I recommend termination for
Corporal Ashley Wood. Due to her violations of the listed policies, Corporal Wood violated the trust of
the Savannah Poilce Department, the Chatham County District Attorney’s Office, and more than
anything public trust.

I find that Sergeant Nicole Khaalis did violate the following Savannah Police Department Policies:

GO # ADM-002 Organization and Direction
GO # OPS-001 Criminal Investigations

Based on the violations outlined above I recommend a written reprimand for Sergeant Khaalis.




ADMINISTRATIVE INSIGHT:
Training Issues - None
Workplace Issues – None
Work / Complaint History – Corporal Ashley Wood- None
Sgt. Nicole Khaalis- February 2007- Missed Court, March 2007- Use of Force Reporting, July
2008- Missed Court, July 2015- AWOL, January 2020- Associating with Criminals
Demotion / Downgrade Considerations – N/A
Relief from Duty Considerations – N/A




                                           Douglas Factors
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1) __ZB___ The nature and seriousness of the offense, and its relation to the employee's duties,
   position and responsibilities, including whether the offense was intentional or technical or
   inadvertent, or was committed maliciously or for gain, or was frequently repeated;
   Corporal Ashley Wood’s actions were repeated several times throughout this investigation
   in terms of not reporting accurate information based on what was learned during recorded
   interviews. Corporal Wood claims that the offenses were inadvertent, however, it appears
   that they were intentional and committed for gain with the result being an arrest and case
   closure.

   Sergeant Nicole Khaalis’ actions were technical and inadvertent.

2) __ZB___ The employee's job level and type of employment, including supervisory or fiduciary
   role, contacts with the public, and prominence of the position;
   Corporal Ashley Wood has been employed with the Savannah Police Department since
   February 2017. Corporal Ashley Wood is currently assigned to the United States Bureau
   of Alcohol, Tobacco, and Firearms (ATF) as a Task Force Officer (TFO).

   Sergeant Nicole Khaalis has been employed with the Savannah Police Department since
   April 2005. Sergeant Khaalis is currently assigned to the Criminal Investigation Division
   as a Unit Supervisor in Homicide.

3) ___ZB__ The employee's past disciplinary record;
   Corporal Ashley Wood has no prior disciplinary record with the Savannah Police
   Department.

   Sergeant Nicole Khaalis has the following disciplinary record with the Savannah Police
   Department:
   1/14/20 –Associating with Criminals – Written Reprimand
   7/17/15 – AWOL – Written Reprimand
   7/8/08 – Missed Court – Written Reprimand
   3/7/07 – Use of Force Reporting – Oral Reprimand
   2/22/07 – Missed Court – Oral Reprimand


4) __ZB___ The employee's past work record, including length of service, performance on the job,
   ability to get along with fellow workers, and dependability
   Corporal Ashley Wood has been employed by the Savannah Police Department for 6 years
   This incident will affect her ability to perform her duties with the department long term.
   This incident has brought forth trust concerns on many levels with other member of the
   police department and outside partners.

   Sergeant Nicole Khaalis has been employed by the Savannah Police Department for 18
   years. This incident is not going to affect her ability to perform her duties or her
   dependability.

5) __ZB___ The effect of the offense on the employee's ability to perform at a satisfactory level
   and its effect on the supervisor's confidence in the employee's ability to perform assigned duties
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   This offense will cause Corporal Ashley Wood to not be able to perform at a satisfactory
   level and will also negatively impact her chain of command confidence in her ability to
   perform.

   This offense will not hinder Sergeant Nicole Khaalis’ ability to perform her assigned duties.

6) _ZB__ Consistency of the penalty with those imposed upon other employees for the same or
   similar offenses
   The penalty for a sustained truthfulness allegation is termination. An employee who has a
   sustained truthfulness allegation becomes ineligible to testify in court amongst other tasks
   related to being employed as a police officer with the Savannah Police Department.


7) __ZB___ Consistency of the penalty with any applicable agency table of penalties;
   The Savannah Police Department does not have a table of penalties.

8) __ZB___ The notoriety of the offense or its impact upon the reputation of the agency;
   This incident has already made local media outlets in regards to Corporal Ashley Wood’s
   untruthfulness. Corporal Ashley Wood’s actions are going to negatively impact the
   reputation of the Savannah Police Department as a whole.

   Sergeant Nicole Khaalis’ involvement will not impact the Savannah Police Department.

9) __ZB___ The clarity with which the employee was on notice of any rules that were violated in
   committing the offense, or had been warned about the conduct in question
   Corporal Ashley Wood should have been familiar with Savannah Police Department
   Policies on truthfulness and the way to conduct herself. Savannah Police Department
   Policies are always available for review by members of the department. Savannah Police
   Department makes it clear to all employees that violation of policy could result in discipline
   up to termination.

   Sergeant Nicole Khaalis was not on notice or had been warned about her conduct of hers
   in question.

10) _ZB____ Potential for the employee's rehabilitation;
    Corporal Ashley Wood’s gross violations of multiple Savannah Police Department Policies
    have severely impacted her ability to perform her duties as she has violated the trust of her
    co-workers, members of the Chatham County District Attorney’s Office, Judges in both
    the Chatham County Recorder’s Court and Superior Court, and most of all public trust.

   Sergeant Nicole Khaalis needs to continue to build new processes to maintain and hold
   members of the Savannah Police Department whom she directly supervises accountable for
   their work.


11) _ZB____ Mitigating circumstances surrounding the offense such as unusual job tension,
    personality problems, mental impairment, harassment, or bad faith, malice, or provocation on the
    part of others involved in the matter;
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       Although the work in the homicide unit is stressful and tough, Corporal Ashley Wood
       committed the violations of these policies alone as other members of the unit are always
       willing to lend a helping hand to make sure that cases are investigated properly and without
       any conflict.

       There were no mitigating circumstances in this incident with Sergeant Nicole Khaalis.

   12) _ZB___ The adequacy and effectiveness of alternative sanctions to deter such conduct in the
       future by the employee or others
       Complete understanding of Savannah Policy Department Policy. Almost every action that
       is completed by a member of the Savannah Police Department could negatively impact the
       agency. All members of the Savannah Police Department should be mindful of what we say,
       do in our actions and type our words to make sure that it is accurate and shows a positive
       side of the agency as a whole.

I hereby certify that I have considered the twelve (12) Douglas Factors as indicated above (with my
initial next to each factor) for possible mitigation of the penalty.

NAME _Zachary Burdette_____________________________ DATE__5/24/2023______

CAPTAIN’S COMMENTS:

 From Facts and Finding page- On page 5 of the report, Detective Wood documents an interview
 that she had with Ms. Tyesha Love in reference to an aggravated assault that Ms. Love was the
 victim of (CRN 210501027). This case was related to a homicide. Detective Wood indicated in her
 report that Ms. Love saw Javaris Roundtree shooting at her apartment.
 Upon review of the BWC interview between Ms. Love and Detective Wood, “Ms. Love states that
 she did not see who was shooting at her apartment, because she fell to the ground when she
 heard the shooting happening.”
 Tyesha Love Interview, paragraph from the 3rd line in Detective Wood’s homicide report states,
 “She said that on Saturday morning she was in her bedroom cleaning up and was by the window
 when suddenly, she heard gunshots hitting her second floor- apartment. She glanced out of the
 second-floor window and saw Javaris Roundtree shooting towards her apartment. She then
 stated that a bullet came through her window striking her in the arm.”
 Based on this false statement and the facts known at the time, there would not have been Probable
 Cause established to obtain an arrest warrant for Javaris Roundtree.
 Additionally, Corporal Wood would have used this untruthful and inaccurate statement to obtain
 search warrants and give testimony to both Recorders Court and Superior Court Judges that
 ultimately led to the arrest of Javaris Roundtree for Murder.
 These facts also establish that what Detective Wood wrote in her report is not true and cannot be
 explained.
 In the report, Detective Wood does not articulate any observations she had regarding Tyesha Love
 and her body language.
 I am unaware of any judge that would sign an arrest warrant based on body language alone.
 In reference to Detective Wood’s Supplemental Report, DA’s Investigator Sammons and a Defense
 Attorney both observed inaccurate statements that are reflected in the report and can be contradicted
 by the interview recording.
 Antwane Snipe interview at 201 Habersham Street Savannah Police Headquarters', Savannah GA.
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Noted in Detective Wood’s Report, “She said she noticed that Carlos had a gun on his lap as
well as Javaris and Marquis both had guns in their laps as well.”
From DA’s Investigator Sammon’s email: In Wood’s report, supplemental 19, page 5, Wood
reflects this statement as ‘She said she noticed Carlos had a gun on his lap as well as Javaris and
Marquis both had guns in their laps as well.’ This typed statement/narrative is inconsistent with
Snipe’s audio/video statement. Furthermore, this same typed narrative is also in most if not all
search warrants completed by Wood in this case.”

Another discrepancy that was noted in the report was, “The morning of April 26th, 2021, at about
0630 AM, Marquis was messaging Antwane Snipe asking her to extend the rental on the 2016
Toyota Camry and told her he didn't want another car and specifically asked to extend the 2016
Toyota Camry.”

From DA’s Investigator Sammons’ email: “After listening to this interview, I agree with Mrs. Kelly
that on 6 May 2021, Antwane Snipe does not say Marquis (Parrish) asked her in any way to extend
the rental agreement. Snipe identifies Carlos Roundtree making this request. At this time, I do not
know where Det Wood came up with the information identifying Marquis Parrish as making the
statement, but it appears to be inaccurate. This statement, like the one about marquis Parrish being n
possession of a firearm, is also reflected in most if not all the search warrants completed by Wood
in this case.”

Allegations for Corporal Ashley Wood Savannah Police Department Policies:
GO # OPS-033 Court Protocol (Superior Court) – SUSTAINED

OPS-033 Court Protocol (Courtroom Demeanor and Rules) - SUSTAINED

GO # ADM-004 Oath of Office, Ethics, and Conduct (Truthfulness/Honesty)- SUSTAINED
(This allegation is sustained for both the Untruthfulness in the Tyesha Love Interview narrative as well as
for the two untruthful/inaccurate statements written in the Antwane Snipe interview narrative).

GO # ADM-002 Organization and Direction (Employee Responsibility)- SUSTAINED

ADM-004 Oath of Office, Ethics, and Conduct (Knowledge of Laws and Rules) - SUSTAINED

GO # OPS-001 Criminal Investigations (Case File Management)- SUSTAINED

GO # OPS-033 Court Protocol (Preparation for Court)- SUSTAINED

OPS-001 Criminal Investigations (Follow-Up Investigations)- SUSTAINED

I believe that Termination is appropriate for the Sustained violations of these Savannah Police Department
Policies by Detective Wood.

Allegations for Sergeant Nicole Khaalis Savannah Police Department Policies:

GO # OPS-001 Criminal Investigations (Case File Management)- SUSTAINED

GO # ADM-002 Organization and Direction (Supervisor Responsibility)- SUSTAINED

I believe that a written reprimand is appropriate for the violations of these Savannah Police Department
policies by Sergeant Khaalis.
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SIGNATURE__Capt. Alex Tobar________________________
DATE     __6/1/23________________________

MAJOR'S COMMENTS:

 I concur with the recommendations of the Captain and Lieutenant in the case. The findings, as it
 relates to Det. Woods, clearly shows a flaw in ethics and general performance. As for Sgt. Khaalis,
 she failed to stay on top of the administrative review of this case to ensure submissions and follow
 up reports were done in a timely manner. This case revealed some administrative practice that
 needed to be revisited on warrant returns and the review of BWC footage when reviewing reports.

SIGNATURE Major Ben Herron_________
DATE     _6/6/23__________

ASSISTANT CHIEF’S COMMENTS:




SIGNATURE__________________________
DATE     __________________________

CHIEF’S COMMENTS:




SIGNATURE__________________________
DATE     __________________________




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asked Ms. Love if she looked out the window when she got shot, to which she replied that she
just hit the ground after she was shot. Detective Wood then asked Ms. Love if she saw anybody
walking up before the gunshots. Ms. Love replied no again.

Investigator Sammons then explained how Detective Wood had not yet submitted crucial
evidence to the GBI in reference to the homicide. He also stated that Detective Wood had not
completed search warrant returns in reference to the homicide investigation.

Investigator Sammons also mentioned that CPL Wood did not go to court after being subpoenaed
on March 22nd, 2023. He stated that he was told that CPL Wood advised that she would not be
attending court due to a “work related operation”.

There is no mention of search warrants, search warrant returns, or evidence submission in
Detective Wood’s investigative reports in reference to the aggravated assault or the homicide in
ARS.

Corporal Wood was placed on administrative leave on this date as well. CPL Wood was advised
of the investigation. She was advised that she needed to communicate with Investigator
Sammons and to see what the District Attorney’s office needed for the upcoming trial for this
case.

In the 2 weeks following being placed on administrative leave, Corporal Wood submitted
evidence for this case to the GBI and got appointments with Superior Court Judges to get search
warrant returns for this case completed.

Thursday, April 13th, 2023 at approximately 1330 hours:

Corporal Wood came to the IA Office and a formal interview was conducted. Prior to the
interview, Corporal Wood was given a copy of her report for CRN 210502037. She was also
allowed to watch BWC footage of her interview with Tyesha Love. Corporal Wood was then
read Garrity and the notification of general order # OPS-016. She signed both forms and stated
she understood them. The interview was audio recorded and added to the case file for this
investigation. The following is a summary of the interview. Corporal Wood was advised that the
purpose of the investigation was to figure out why there were discrepancies in her report when
compared with the BWC footage. Corporal Wood confirmed that she read the report she placed
in ARS under CRN 210502037, specifically where it says that Ms. Love identified Javaris
Roundtree as the person who shot her because she saw him shooting at her. She was then asked
why the ARS reports says that Ms. Love saw who shot her, but in the BWC footage, Ms. Love
states to Corporal Wood that when the shooting started, she got down on the floor and did not
see who was shooting. Corporal Wood is then shown again, the footage from the BWC where
Ms. Love stated she did not see who shot her.


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Corporal Wood was asked why there was a discrepancy in the report and the BWC footage. She
responded by saying that when she asked Ms. Love if “Scooter” shot her, Ms. Love’s body
language told her that “Scooter” did shoot her. She stated that she believed Ms. Love did not
verbalize that “Scooter” shot her because “Scooter’s” baby mama was 10 feet away. Corporal
Wood stated that Ms. Love’s body language indicated to her that Ms. Love saw “Scooter” shoot
her. Corporal Wood then stated that later in the interview, Ms. Love changed her story. She
stated that when she typed her Detective supplemental report, she typed it from memory without
watching the BWC footage. When asked how long after the incident did she swear out warrants
on Javaris Roundtree, she stated that she did not remember. When asked if she swore the
warrants out via Cloud Gavel or if she went to see a Judge in person, she replied by saying she
did not remember. When asked who her supervisors were at the time of this incident, Corporal
Wood stated that Sergeant Khaalis and Lieutenant Burdette were the supervisors of the unit at
that time. When asked why a case file was not submitted for the homicide and aggravated assault
investigations, Corporal Wood responded by saying that she had been transferred to the Gang
Unit and forgot to submit the case file.

(This incident occurred in May of 2021 and Corporal Wood was transferred to the gang unit
in October of 2021)

Corporal Wood was then asked why search warrant returns were just getting done if the incident
happened 2 years ago. She replied by saying that she was trained to hold off on doing search
warrant returns until the case was about to go to trial and just before the defense attorney filed
for discovery. She stated that was standard practice for the homicide unit at that time. She then
stated that the District Attorney’s Office had a copy of the case file for this incident.

Friday, April 14th, 2023, at approximately 1000 hours:

Corporal Hilderbrand came to the IA Office and a formal interview was conducted. Corporal
Hilderbrand was then read Garrity. He signed the form and stated he understood it. The interview
was audio recorded and added to the case file for this investigation. The following is a summary
of the interview. When asked if he recalled the incident at 10714 Abercorn Street in 2021,
Corporal Hilderbrand stated that he did not remember details about the case off the top of his
head. He was then shown BWC footage of his and Corporal Wood’s interview with Ms. Love.
After reviewing the BWC footage, Corporal Hilderbrand was asked if he was present during any
time that Ms. Love verbalized who shot her. He responded by saying that he did not recall and
requested to view the entire BWC footage from the interview with Ms. Love. He was then asked
about when he first started in the homicide unit, if he was trained not to turn in search warrants
and evidence until right before discovery from the defense. He replied by saying that the
standing practice for the unit when he started there was not to turn in search warrant returns to
the courts until right before discovery, so that the defense could not have access to them before
the District Attorney’s office wanted the defense to have them. Corporal Hilderbrand stated that
the practice of doing this was initiated when former SPD Sergeant Santoro was supervising the

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unit. Corporal Hilderbrand stated that it was never standard practice to not submit evidence
immediately to be tested by GBI.

Corporal Hilderbrand then was allowed the entire BWC footage for this incident. He confirmed
that in the beginning of the interview, when Ms. Love was asked if “Scooter” was the person
who shot her, she put her head down and nodded to indicate yes. Corporal Hilderbrand stated
that when he asked Ms. Love it nodding her head meant yes, she nodding her head again.
Corporal Hilderbrand also confirmed that Corporal Wood walked away with Ms. Love to
complete the interview and he did not know what was said during that portion because he was
standing by with “Scooter’s” baby mama.

Monday, April 17th, 2023 at approximately 1118 hours:

Sergeant Khaalis came to the IA Office and a formal interview was conducted. Prior to the
interview, Sergeant Khaalis was given a copy of Corporal Wood’s report for CRN 210502037.
She was also allowed to watch BWC footage of the interview of Tyesha Love, conducted by
Corporal Wood and Corporal Hilderbrand. Sergeant Khaalis was then read Garrity and the
notification of general order # OPS-016. She signed both forms and stated she understood them.
The interview was audio recorded and added to the case file for this investigation. The following
is a summary of the interview. Sergeant Khaalis confirmed that she and Lt. Burdette were
supervisors of the homicide unit during this incident. When asked how often she received
updates on homicide cases that are being actively worked, she replied by saying that it depends,
and it is case by case. When asked how long after an arrest is made should a case file be turned
in for supervisor review, she stated 60 days, but the DA’s office wants them within 90 days. She
stated that things like search warrant returns and results from evidence submissions probably
would not be in the case file within the 60-90 day period, but they would be added later when the
detective got results. When asked if she remembered supervisor approving Corporal Wood’s
report, she confirmed that she remembered approving it. When asked if she watched the BWC
footage of the interview Corporal Wood and Corporal Hilderbrand conducted with Ms. Love, she
stated that she did not review the footage. Sergeant Khaalis agreed that there were discrepancies
in Corporal Wood’s report after viewing the BWC footage of the interview for the first time. She
stated that Javaris Roundtree should not have been arrested based off what she saw on the BWC
footage.

When asked about evidence submission and how the supervisors are updated on the detective’s
cases, Sergeant Khaalis stated that yes, things like DNA swabs and shell casings should have
been turned in to GBI immediately. She stated that in 2021, the DA assigned to the homicide
case would usually send an email, with a list of things that still needed to be done for the case.
She stated that she never got an email or was advised on any further actions needing to be taken
by Corporal Wood.



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When asked about search warrant returns not being turned in until right before trial for discovery
by the defense, Sergeant Khaalis replied by saying that former SPD Sergeant Santoro initiated
that practice before she went to the unit. She stated that her chain of command did not seem to
have a problem with it, so she didn’t think it was a problem. She stated that currently, the
homicide unit turns the search warrant returns in as soon as the requested items are provided to
the detective.

When asked if there was a process for if case files were turned in, Sergeant Khaalis stated that it
is tracked on a excel spreadsheet on the OneDrive. When asked if she has communicated with
Corporal Wood about getting the case file for this investigation turned in over the last 2 years,
she stated that she had, but could not remember if it was via email or phone call.

SGT Khaalis provided me with emails showing a mid-year work plan for CPL Wood, which
addressed expectations for her updates for CRN 210501027 and CRN 210502037. The email
indicated that reports needed to be uploaded to ARS and a casefile needed to be submitted for
both investigations. SGT Khaalis also provided an email correspondence with CPL Wood from
September 1st 2021, reminding CPL Wood that she still had not submitted her report for the
homicide in ARS.




Thursday, April, 20th, 2023, at approximately 1003 hours:

Lieutenant Burdette came to the IA Office and a formal interview was conducted. Lieutenant
Burdette read the report Corporal Wood submitted in reference to this incident (CRN
210502037). He then watched the BWC footage of the interview of Tyesha Love, conducted by
Corporal Wood and Corporal Hilderbrand. Lieutenant Burdette then read Garrity. He signed the
form and stated he understood it. The interview was audio recorded and added to the case file for
this investigation. The following is a summary of the interview. Lieutenant Burdette confirmed
that he was Sergeant assigned as a supervisor in the homicide unit in May of 2021. When asked
if it was common practice for supervisors to review BWC footage along with detective
supplemental reports, Lieutenant Burdette stated that it was not. He stated that supervisors just
read the detectives reports. He stated that when arrests were made in these cases, detectives
would let him and/or Sergeant Khaalis know, so the news could be passed along through the
chain of command. When asked if there would have been anything done differently if Lieutenant
Burdette would have viewed the BWC footage after viewing the ARS report in 2021, Lieutenant
Burdette stated that there was no probable cause for an arrest if he would have viewed the BWC
footage in 2021. Lieutenant Burdette stated that he got promoted to Lieutenant in July of 2021
and had no further involvement with the homicide unit until he was recently transferred back as
the unit commander.


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1305 hours:

Corporal Wood came to the Internal Affairs office to be re-interviewed. Corporal Wood
confirmed that she remembered Garrity and was told it was still in effect. The following is a
summary of the interview. When asked how long after the interview with Ms. Love did she type
her report, Corporal Wood stated it was maybe a month later. When asked what her probable
cause was for the aggravated assault arrest on Javaris Roundtree, she stated that Ms. Love’s body
language during the interview told her that Javaris Roundtree shot her, even though she did not
see him shoot her. Corporal Wood stated that when she wrote the report for this incident, she
wrote it from memory and did not review the BWC footage of the incident. When asked what
she testified to when getting the warrant sworn out the next day to the Judge, she stated that she
did not remember. When asked if Corporal Wood told ADA DeBlasiis that MS. Love told her
that Javaris Roundtree shot her, Corporal Wood stated that she told ADA DeBlasiis she did not
remember. When asked specific questions pertaining to her probable cause and overall
investigation of the homicide (CRN 210502037) Corporal Wood stated that she did not
remember. When asked about submitting evidence (specifically shell casings, guns and DNA) to
the GBI to be processed, Corporal Wood said that she just forgot to do it. When asked about
why she did not interview 2 of the subjects she had warrants out on for the homicide, she stated
that she did not feel the need to interview them at that point. She then stated that she was on her
back porch, screening her porch in and drinking a beer when the arrests were made. When asked
about supplemental reports that should have been typed after she got information obtained via
search warrants (i.e., phone records and tower dump records), Corporal Wood replied that she
didn’t know why she didn’t type the supplemental reports.

Friday, April 28th, 2023

I received information that a press released was aired and posted on news outlets. The article
alleged that CPL Wood used false information to obtain warrants in the homicide investigation
she conducted in 2021 (CRN 210502037). The article stated that CPL Wood obtained 34 search
warrants, all of which stated that Marquise Parrish was with co-defendants purchasing cleaning
supplies at Walmart, and that CPL Wood viewed security footage confirming that. The article
alleges that Mr. Parrish’s attorneys viewed 67 hours of Walmart security footage and never saw
Mr. Parrish anywhere in the footage.

Monday, May 8th, 2023, at approximately 1400 hours:

CPL Wood came to the Internal affairs office to be interviewed, in reference to the allegations
from the press release. CPL Wood was reminded of the Garrity warning that she signed and
advised that it was still in effect. The interview was audio recorded and added to this case file.
The following is a summary of the interview.



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CPL Wood confirmed that she knew about the press release, but stated she did not read it. CPL
Wood was told that the press release alleged that she obtained arrest and search warrants under
false pretenses. She was asked if she saw Marquis Parrish on the surveillance footage at the
Walmart across from Savannah Mall, along with the other 3 co-defendants for the homicide case
she investigated (CRN 210502037). She stated that she did not remember, because it had been so
long ago. She was then provided a copy of her police report, focusing on page 8 where she
reports the following:

 “ I also know that on 4/26/2021 Carlos Roundtree, Aaliyah Duncan and Marquis Parrish
went to the Walmart Super Center located at 14030 SR-204 E to purchase cleaning supplies,
towels, wash rags, trash bags and clothes. I saw the video footage captured by Walmart
security camera’s.”

CPL Wood was asked how she knew Marquis Parrish was at Walmart on the date in question.
She stated that she did not remember, but it could have been someone that she interviewed that
told her that Marquis was there. She stated that she remembers seeing Aaliyah Duncan on the
surveillance footage, but may have placed the other individuals, to include Marquis Parrish, at
the Walmart through interviewing co-defendants.

Facts and Findings

   -   On March 31st, 2023, I met with Assistant District Attorney DeBlasiis and Investigator
       Sammons, who is also with the District Attorney’s Office. During the meeting, I was
       shown a homicide report submitted by Detective Wood (CRN 210502037).

   -   On page 5 of the report, Detective Wood documents an interview that she had with Ms.
       Tyesha Love in reference to an aggravated assault that she was the victim of (CRN
       210501027), which was related to a homicide. Detective Wood indicated in her report
       that Ms. Love saw Javaris Roundtree shooting at her apartment.

   -   Upon review of the BWC interview between Ms. Love and Detective Wood, Ms. Love
       states that she did not see who was shooting at her apartment, because she fell to the
       ground when she heard the shooting happening.

   -   Detective Wood still had evidence that was not submitted to GBI to be processed in
       reference to this incident.

   -   Defense Attorneys alleged that Detective Wood obtained search warrants and arrests
       warrants based on statements given to the courts that were not true.




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   -   Detective Wood did not go to court after being subpoenaed on March 22nd, 2023. She
       advised the DA’s office that that she would not be attending court due to a “work related
       operation”.

   -   Detective Wood did not complete tasks in reference to the homicide and the aggravated
       assault investigations that were given to her by her supervisor at the time (Sergeant
       Khaalis).




   -   Upon completion of my investigation, CPL Wood was cited with the following:

          o ADM-004, Oath of Office, Ethics, and Conduct
                    • Knowledge of rules and laws
                    • Truthfulness/honesty

          o ADM-018, Search and Seizure
                    • Requirements for a search warrant return

          o OPS-001, Criminal Investigations
                      • Follow-up Investigations
                      • Case file management

           o OPS-033, Court Protocol
                       • Superior Court / Electric Notification/Subpoena
                       • Preparation for Court
                       • Courtroom Demeanor and Rules

           o OPS-002, Organization and Direction
                      • Employee Responsibility

ADM-004 , OATH OF OFFICE, ETHICS, AND CONDUCT

Truthfulness/Honesty
Knowledge of rules and Laws


- Corporal Wood swore out arrests warrants on Javaris Roundtree for aggravated assault even
though he was not properly identified by the victim.



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- Corporal Wood swore out arrest warrants and search warrants on Marquis Parrish testifying
that she knew he was seen on security footage at Walmart with co-defendants, when he was
actually not seen on security footage.

ADM-018, SEARCH AND SEIZURE

Searches with a warrant

-Corporal Wood did not turn in search warrant returns within 5 days of receiving items listed in
search warrants submitted.



OPS-001, CRIMINAL INVESTIGATIONS

Follow-up Investigations
Case file management

-Corporal Wood did not submit evidence to be processed at the GBI until April 2023

-No supplemental reports were written and loaded in ARS in reference to what was received
from the execution of search warrants, submitting of evidence to GBI

-Corporal Wood did not review supplemental reports and had no knowledge of a suspect vehicle
or a potential additional witness in the aggravated assault case.

-No case file was turned into SPD case file management until April 2023.


OPS-033, COURT PROTOCOL

Electric Notification/Subpoena
Superior Court

- Corporal Wood did not go to court after being subpoenaed on March 22nd, 2023, for a motion
hearing. Corporal Wood advised that she would not be attending court due to a “work related
operation”.

Preparation for Court

-Corporal Wood did not submit evidence to be processed with the GBI. She also did not review
supplemental reports in reference to either case.

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-Corporal did not have a completed case file nor did she have lab results due to her failure to
submit evidence collected for testing at the GBI.

Courtroom Demeanor and Rules

-Corporal gave inaccurate testimony when applying for arrest warrants and search warrants




OPS-002, ORGANIZATION AND DIRECTION

Employee Responsibility

-Corporal Wood did not complete tasks in reference to the homicide and the aggravated assault
investigations that were given to her by her supervisor at the time (Sergeant Khaalis).

-Sergeant Khaalis was cited with the following:

            o OPS-002, Organization and Direction
                       • Supervisor Responsibility

           o OPS-001, Criminal Investigations
                       • Case file management



OPS-002, ORGANIZATION AND DIRECTION

Supervisor Responsibility

-Sergeant Khaalis did not ensure that Corporal Wood submitted a complete case file and accurate
report for this investigation.

OPS-001, CRIMINAL INVESTIGATIONS

Case file management

-Sergeant Khaalis did not review Corporal Wood’s case file for accuracy every 10 days.


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again that Carlos Roundtree and Javaris Roundtree were seen in possession of firearms in the
Yukon. Snipe affirmatively acknowledges this, and Marquis Parrish is never mentioned
possessing firearms. In Wood’s report, supplemental 19, page 5, Wood reflects this statement
as ‘She said she noticed Carlos had a gun on his lap as well as Javaris and Marquis both had
guns in their laps as well.’ This typed statement/narrative is inconsistent with Snipe’s
audio/video statement. Furthermore, this same typed narrative is also in most if not all search
warrants completed by Wood in this case.

At approximately 0817hrs timestamp in the recorded interview, Antwane Snipe tells Det Wood
that Carlos Roundtree contacts her in the morning hours (around 0815hrs, 26 April 2021) to
tell her he was coming to pick her up to return the rental car (suspected crime scene). Wood
asked Snipe if she received a message from Carlos Roundtree before 0800hrs. Snipe said she
could not recall any contact prior to 0800hrs. At approximately timestamp 0842hrs in the
recorded interview, Det Wood asks Snipe if she recalled a message early in the morning (26
April 2021) from “Carlos” asking to extend the rental. At this point Snipe did confirm the
communication happened, she just did not recall the message. Nothing is mentioned about
Marquis Parrish contacting Antwan Snipe requesting the rental be extended on the car
(suspected crime scene). On page 6, supplemental 19, Det Wood typed, ‘ The morning of April
26th, 2021, at about 0630 AM, Marquis was messaging Antwane Snipe asking her to extend
the rental on the 2016 Toyota Camry and told her he didn’t want another car and specifically
asked to extend the 2016 Toyota Camry.’ This is the statement Mrs. Kelly and I disputed in our
conversation.

After listening to this interview, I agree with Mrs. Kelly that on 6 May 2021, Antwane Snipe
does not say Marquis (Parrish) asked her in any way to extend the rental agreement. Snipe
identifies Carlos Roundtree making this request. At this time, I do not know where Det Wood
came up with the information identifying Marquis Parrish as making the statement, but it
appears to be inaccurate. This statement, like the one about marquis Parrish being n
possession of a firearm, is also reflected in most if not all the search warrants completed by
Wood in this case.

Of lesser note, as it is close in context, supplemental 19, page 6, Det Wood typed Snipe stated,
‘Roundtree pushed her aside telling her “he had it”…..’ In the recorded interview around the
0834hrs timestamp the cleaning of the rental car is discussed. I do not hear Snipe speak about
being physically pushed aside and the only quote Snipe attributed to Carlos Roundtree was
“move out the way.” The report is contextually close but description of physically moving
Snipe and the quotation are not accurate.

Today’s discoveries further complicate matters in our efforts to investigate and potentially
prosecute this case. I am asking for this interview to be reviewed independently to make sure I
am correct. If I am, we seek clarification and explanation for the discrepancies identified
above.

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Thank You,
Alan

Investigator Alan Sammons
Major Case Supervisor
Eastern Judicial Circuit of Georgia
Chatham County District Attorney’s Office
Office: 912-652-8062
Cell: 912-346-4618
Email:asammons@chathamcounty.org
Monday, May 22nd, 2023:

I received an email from DA investigator Sammons, which advised on inconsistencies between
other interviews and CPL Wood’s ARS report for her investigation (CRN 210502037). The
following email was sent by Investigator Sammons. Investigator Sammons’s findings were
verified by me (Sergeant Samuell) and Lt. Wiggins .

Sirs,

I have been trying to flesh out a search warrant affidavit to pursue information not collected
in the original investigation into Charles Vinson’s murder. To do so I have been reviewing
recorded statements. This morning I found another statement in Det Wood’s report and
search warrants that is inconsistent/inaccurate with the recorded statement of the suspect,
Marquis Parrish.
The report is supplemental 19 (CRN 210502037) page 4. The prior date listed in the report is 2
May 2021 and the recorded interview (multiple BWC’s capture encounter) with Marquis
Parrish reflects the same date. The report and search warrants in this case reflect the
following: ‘Marquis Parrish was also asked if he was ever in the rental vehicle, which he
explained that he was never in the rental vehicle.’

The recording of note is named ‘Interview_with_Marquis-2.mp4’. Beginning at the 11-minute
mark (reflected as 20:23:13 in the BWC) Marquis responds to questioning about riding in a
vehicle with any other persons. Marquis tells detectives he rode in a red four door car with
“Scooter’s brother.” (Parrish never uses the name Carlos as reflected in the report) Marquis
goes on to tell detectives that he drove “Scooter’s brother” to pick up the red car from the
airport and at the 13:23 minute mark Marquis identifies the car as a rental. At the 14:20
minute mark, Marquis was asked if he ever rode in the rental car without “Scooter’s brother.”
The answer to that question is no.




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As I see this, the report/search warrant asserts that Marquis Parrish unequivocally denies ever
riding in the rental vehicle. This is not true based on the recorded statement. I can forward a
copy of the interview if needed.

Thank You,

Investigator Alan Sammons
Major Case Supervisor
Eastern Judicial Circuit of Georgia
Chatham County District Attorney’s Office
Office: 912-652-8062
Cell: 912-346-4618
Email:asammons@chathamcounty.org




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  Print                           Savannah Police Department
                               Administrative Investigation Report

                                                 Incident Details
   Date Received                                    Date of Occurrence                          Time of
                                                                                                Occurrence

   03/31/2023

   Record ID Number                                 CRN                                         OPS #

   10624                                            210502037                                   23-0041

   Date/Time Entered                                Entered By

   03/31/2023 08:18                                 [IAPro entry - Sergeant Kaishawn
                                                    Samuell]

   SPD BlueTeam LIVE Assigned                       IAPro Assigned Investigator
   Investigator

   Assistant Chief Devonn Adams - 1440              Sergeant Kaishawn Samuell




                                              Incident Summary
  Corporal Wood falsified a Police report for an aggravated assault, where an arrest was made




                                               Incident Location
  Addresses [None Entered]
  - Location of Occurrence:




                                             Involved Employees
  Corporal Ashley Wood - 62333
  Assignment at time of incident: Corporal Field Operations Division/Special Investigations Bureau/Task
  Force Officers/ATF Task Force/
  Role: [None Entered]



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                Case 4:23-cv-00261-JRH-CLR
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                                                                 Report | SPD    02/06/24
                                                                              BlueTeam LIVE Page 106 of 114
  Policy Outcome: Not yet entered

  Linked Allegations
  • ADM-004 Oath of Office, Ethics, and Conduct (Truthfulness/Honesty) -

  • OPS-001 Criminal Investigations (Follow Up Investigations) -

  • ADM-002 Organization and Direction (Employee Responsibility) -

  • OPS-033 Court Protocol (Courtroom Demeanor and Rules) -

  • OPS-001 Criminal Investigations (Case File Management) -


  • ADM-018 Searches and Seizures (Searches with a Warrant) -

  • OPS-033 Court Protocol (Preparation for Court) -

  • ADM-004 Oath of Office, Ethics, and Conduct (Knowledge of Laws and Rules) -

  • OPS-033 Court Protocol (Superior Court) -




  Sergeant Nicole Khaalis - 5182
  Assignment at time of incident: Sergeant Investigations Division/Criminal Investigations Bureau/Homicide//
  Role: [None Entered]
  Policy Outcome: Not yet entered


  Linked Allegations
  • ADM-002 Organization and Direction (Supervisor Responsibility) -


  • OPS-001 Criminal Investigations (Case File Management) -




                                                          Tasks
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  No tasks to show


                                           Running Sheet Entries
  No running sheet entries to show


                                                   Attachments
   Date             Attachment Description                                                          Attachment
   Attached                                                                                         Types

   03/31/2023       Wood Notification of OPS                                                        pdf

   04/17/2023       SGT Khaalis Garrity                                                             pdf

   04/20/2023       Homocide assigned cases 2021                                                    pdf

   05/09/2023       PR1                                                                             PNG

   03/31/2023       Det Hilderbrand Interview with Tyesha Love

   04/14/2023       CPL HIlderbrand Interview                                                       m4a

   05/24/2023       Wood and Khaalis LOT                                                            docx

   05/11/2023       ADM-004 Oath of Office Ethics and Conduct 04-23-18                              pdf

   05/23/2023       Marquis Parrish Interview - Wood

   03/31/2023       Admin Leave Form OPS 22-0041                                                    pdf

   05/11/2023       ADM-018 Search and Seizure                                                      pdf

   04/20/2023       workplan email                                                                  msg

   05/23/2023       OPS 23-0041 Update                                                              docx

   04/20/2023       LT Burdette Garrity                                                             pdf

   04/17/2023       Hilderbrand Garrity                                                             pdf

   05/09/2023       PR3                                                                             PNG

   05/11/2023       Final Report OPS 23-0041                                                        docx

   05/11/2023       ADM-002 Organization and Direction                                              pdf

   04/13/2023       Certified Copy of Search Warrant Returns                                        pdf

   04/20/2023       Work Plan Wood 07 21                                                            pdf

   05/23/2023       Marquis Parrish Int - Wood Audit Trail                                          pdf

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   05/11/2023       OPS-033 Court Protocol                                                          pdf

   04/14/2023       CPL Wood Garrity                                                                pdf

   05/09/2023       PR2                                                                             PNG

   05/22/2023       antwane snipe_spd hq interview rm 307 (pinhole)                                 wav

   03/31/2023       DA Letter_1000012e_1                                                            pdf

   04/13/2023       28 March 23(b)                                                                  pdf

   04/20/2023       Lt_ Burdette interview                                                          m4a

   03/31/2023       210502037report                                                                 pdf

   03/31/2023       Det Wood Interview with Tyesha Love

   06/06/2023       Admin Forms-Wood and Khaalis - Major Herron LOT (3)                             docx

   04/13/2023       savannah pd_GBI                                                                 pdf

   04/13/2023       Case file SPD 210502037 VOL II                                                  pdf

   04/13/2023       28 March 23(c)                                                                  pdf

   04/20/2023       CPL Wood interview 2                                                            m4a

   04/13/2023       Case file SPD 210502037 VOL I                                                   pdf

   05/23/2023       Marquis Parrish Interview

   06/01/2023       Wood and Khaalis - Capt. Tobar LOT                                              docx

   05/08/2023       CPL Wood interview 3                                                            m4a

   04/13/2023       27 March 23                                                                     pdf

   04/13/2023       Caution - External Email A_ Woodemail communication by DAO to Wood              msg
                    for Roundtree case_

   04/13/2023       28 March 23 (a)                                                                 pdf

   04/13/2023       Det Wood Interview with Tyesha Love                                             mp4

   05/18/2023       Caution - External Email Det Ashely Wood SPD Case # 210502037                   msg
                    Defendants Roundtree (x2) Duncan Parrish

   04/13/2023       Det Hilderbrand Interview with Tyesha Love                                      mp4

   05/11/2023       OPS-001 Criminal Investigations                                                 pdf

   05/23/2023       Marquis Parrish Int - Hilderbrand Audit Trail                                   pdf

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   04/13/2023       28 March 23(d)                                                                    pdf

   04/17/2023       SGT Khaalis Interview                                                             m4a

   04/20/2023       Woods Work plan 2021                                                              pdf

   04/14/2023       CPL Wood Interview 1                                                              m4a

   04/13/2023       22 March 23                                                                       pdf

   04/13/2023       28 March 23                                                                       pdf

   05/23/2023       Caution - External Email RoundtreeParrishDuncan                                   msg


                                             Assignment History
   Date/Time          From                 To                         Activity
   Sent

   05/11/2023         Sergeant K                                      Field status changed in IAPro from null to Field
   13:16              Samuell                                         assigned

   05/11/2023         Sergeant K           Lieutenant Zachary         IAPro assigned
   13:16              Samuell              Burdette

   05/24/2023         Lieutena R                                      Field assigned
   14:02              Wiggins

   06/07/2023         Corporal S                                      Field assigned
   14:43              Sueaquan

   06/14/2023         Sergeant M                                      Field assigned
   12:22              Nelson

   06/14/2023         Sergeant K                                      Field status changed in IAPro from Completed
   15:59              Samuell                                         - in holding bin to Released

   06/14/2023         Sergeant K                                      Field status changed in IAPro from Released to
   16:00              Samuell                                         Field assigned

   06/14/2023         Sergeant K           Police Chief Lenny         IAPro assigned
   16:00              Samuell              Gunther

   06/14/2023         Sergeant K           Assistant Chief            IAPro assigned as part of IAPro re-route
   16:07              Samuell              Devonn Adams




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                                      Chain of Command History
   Routing Number: 1

   From Sergeant Kaishawn Samuell

   To [Snapshot Title Unavailable] Zachary Burdette

   Cc:

   Date/Time Sent 05/11/2023 13:16

   Instructions From [ Sergeant Kaishawn Samuell ] To [ [Snapshot Title Unavailable] Zachary Burdette ]

   Please add LOT to include Douglas factors.

   Comments/Response From [ [Snapshot Title Unavailable] Zachary Burdette ]

   LOT Completed.


   Routing Number: 2

   From Lieutenant Zachary Burdette

   To Captain Alexander Tobar

   Cc:

   Date/Time Sent 05/24/2023 11:07

   Instructions From [ Lieutenant Zachary Burdette ] To [ Captain Alexander Tobar ]

   Captain,

   Admin investigation into Corporal Ashley Wood for your review, LOT is completed and attached.

   Comments/Response From [ Captain Alexander Tobar ]

   Incident routing was closed out by IAPro user Lieutenant Richard Wiggins and the incident was re-routed to
   Lieutenant Zachary G Burdette [11208]


   Routing Number: 3

   From Lieutenant Richard Wiggins

   To [Snapshot Title Unavailable] Zachary Burdette

   Cc:

   Date/Time Sent 05/24/2023 14:02


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   Instructions From [ Lieutenant Richard Wiggins ] To [ [Snapshot Title Unavailable] Zachary Burdette ]

   Corrections. Victim's name is Charles Vinson.

   Comments/Response From [ [Snapshot Title Unavailable] Zachary Burdette ]

   Corrected Error of victims name in LOT.


   Routing Number: 4

   From Lieutenant Zachary Burdette

   To Captain Alexander Tobar

   Cc:

   Date/Time Sent 05/24/2023 22:29

   Instructions From [ Lieutenant Zachary Burdette ] To [ Captain Alexander Tobar ]

   Captain,

   Please see LOT in regards to the administrative investigation involving Coporal Ashley Wood. The LOT has
   been corrected to show the correct information on the victim.

   Comments/Response From [ Captain Alexander Tobar ]

   Completed LOT to be forwarded to Major Herron.


   Routing Number: 5

   From Captain Alexander Tobar

   To Major Ben Herron

   Cc:

   Date/Time Sent 06/01/2023 13:42

   Instructions From [ Captain Alexander Tobar ] To [ Major Ben Herron ]

   Major,


   Here is the LOT for the Detective Wood case.

   -Capt. Tobar

   Comments/Response From [ Major Ben Herron ]

   [Forwarded by Major Ben Herron]

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   Routing Number: 6

   From Major Ben Herron

   To Assistant Chief Devonn Adams

   Cc:

   Date/Time Sent 06/06/2023 11:44

   Instructions From [ Major Ben Herron ] To [ Assistant Chief Devonn Adams ]

   For your review

   Comments/Response From [ Assistant Chief Devonn Adams ]

   Incident routing was closed out by IAPro user Corporal Sean Sueaquan and the incident was re-routed to
   Police Chief Lenny B Gunther [4578]


   Routing Number: 7

   From Corporal Sean Sueaquan

   To [Snapshot Title Unavailable] Lenny Gunther

   Cc:

   Date/Time Sent 06/07/2023 14:43

   Instructions From [ Corporal Sean Sueaquan ] To [ [Snapshot Title Unavailable] Lenny Gunther ]

   For review

   Comments/Response From [ [Snapshot Title Unavailable] Lenny Gunther ]

   Incident routing was closed out by IAPro user Sergeant Megan Nelson and the incident was re-routed to
   Assistant Chief Devonn C Adams [1440]


   Routing Number: 8

   From Sergeant Megan Nelson

   To Assistant Chief Devonn Adams

   Cc:

   Date/Time Sent 06/14/2023 12:22

   Instructions From [ Sergeant Megan Nelson ] To [ Assistant Chief Devonn Adams ]

   for review


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                                                                 Report | SPD    02/06/24
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   Comments/Response From [ Assistant Chief Devonn Adams ]

   Completion notes: In reference to this investigation I submit the following. The actions of those involved in
   this investigation is not indicative of the culture of the Savannah Police Department. we strive for
   excellence in all our endeavors.. After reviewing the investigation I recommend that Corporal Ashley
   Woods be terminated from the Savannah Police Department for her sustained allegations. I also
   recommend that Sgt. Nicole Khaalis receive a five day suspension and be reassigned to the patrol division
   as a result of her sustained allegations..


   Routing Number: 9

   From Sergeant Kaishawn Samuell

   To [Snapshot Title Unavailable] Lenny Gunther

   Cc:

   Date/Time Sent 06/14/2023 16:00

   Instructions From [ Sergeant Kaishawn Samuell ] To [ [Snapshot Title Unavailable] Lenny Gunther ]

   See AC Adams's comments for CPL Wood

   Comments/Response From [ [Snapshot Title Unavailable] Lenny Gunther ]

   Incident assignment and routing were closed out by IAPro user Sergeant Kaishawn Samuell and the
   incident was re-assigned and re-routed to Assistant Chief Devonn C Adams [1440]


   Routing Number: 10

   From Sergeant Kaishawn Samuell

   To Assistant Chief Devonn Adams

   Cc:

   Date/Time Sent 06/14/2023 16:07

   Instructions From [ Sergeant Kaishawn Samuell ] To [ Assistant Chief Devonn Adams ]

   AC Adams, in your comments you put recommendations instead of findings.

   Comments/Response From [ Assistant Chief Devonn Adams ]

   Completion notes: In reference to this investigation I submit the following:
   The actions of those involved in this investigation is not indicative of the culture within the Savannah Police
   Department. We strive for excellence in all our endeavors. After reviewing this investigation my decision is
   that Corporal Ashley Woods be terminated from the Savannah Police Department for her sustained
   allegations.
   In reference to Sgt. Nicole Khaalis , its my decision that Sgt. Khaalis receives five days suspension and
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                Case 4:23-cv-00261-JRH-CLR
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   reassignment to the patrol division as a result of her previous disciplinary history and the sustained
   allegations against her.




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